Case 2:22-bk-10266-BB   Doc 187 Filed 05/27/22 Entered 05/27/22 11:21:31       Desc
                         Main Document     Page 1 of 3

  1 JOHN-PATRICK M. FRITZ (State Bar No. 245240)
    LINDSEY L. SMITH (State Bar No. 265401)
  2 LEVENE, NEALE, BENDER,
  3 YOO & GOLUBCHIK L.L.P.
    2818 La Cienega Avenue
  4 Los Angeles, California 90034
    Telephone: (310) 229-1234
  5
    Facsimile: (310) 229-1244
  6 Email: JPF@LNBYG.COM; LLS@LNBYG.COM
  7 Attorneys for Chapter 11
  8 Debtor and Debtor in Possession
  9                      UNITED STATES BANKRUPTCY COURT

 10                       CENTRAL DISTRICT OF CALIFORNIA

 11                              LOS ANGELES DIVISION

 12
 13 In re:                                    )   Case No.: 2:22-bk-10266-BB
                                              )   Chapter 11 Case
 14   ESCADA AMERICA LLC,                     )
                                              )   NOTICE OF ERRATA RE MONTHLY
 15                                               OPERATING REPORT FILED AS
             Debtor and Debtor in Possession. )
 16                                           )   DOCKET NO. 183
                                              )
 17
                                              )
 18                                           )
                                              )
 19                                           )
 20                                           )
                                              )
 21                                           )
                                              )
 22
                                              )
 23                                           )
                                              )
 24                                           )
 25                                           )
                                              )
 26                                           )
                                              )
 27                                           )
 28



                                             1
Case 2:22-bk-10266-BB        Doc 187 Filed 05/27/22 Entered 05/27/22 11:21:31              Desc
                              Main Document     Page 2 of 3

  1          PLEASE TAKE NOTICE that the incorrect month is stated on the first page of the

  2 Monthly Operating Report (the “MOR”) filed by Escada America, LLC on May 26, 2022 and
  3 which appears as Docket No. 183 in the above-captioned case. The first page of the MOR
  4
      incorrectly states that the MOR relates to the month of March 2022 when it should state that it
  5
      relates to the month of April 2022.
  6
      Dated: May 27, 2022                   ESCADA AMERICA LLC
  7
  8                                         By: ___/s/ Lindsey L, Smith _____
                                                  JOHN-PATRICK M. FRITZ
  9                                               LINDSEY L. SMITH
                                                  LEVENE, NEALE, BENDER,
 10                                               YOO & GOLUBCHIK L.L.P.
                                                  Attorneys for Chapter 11
 11
                                                  Debtor and Debtor in Possession
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28



                                                      2
Case 2:22-bk-10266-BB                Doc 187 Filed 05/27/22 Entered 05/27/22 11:21:31                                       Desc
                                      Main Document     Page 3 of 3
                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 2818 La Cienega Avenue, Los Angeles, CA 90034.

      A true and correct copy of the foregoing document entitled NOTICE OF ERRATA RE
  3   MONTHLY OPERATING REPORT FILED AS DOCKET NO. 183 will be served or was served (a) on
      the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
  4   below:
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  5   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On May 27, 2022, I checked the CM/ECF docket for this bankruptcy case or
  6   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
      receive NEF transmission at the email addresses stated below:
  7
               Dustin P Branch branchd@ballardspahr.com,
  8             carolod@ballardspahr.com;hubenb@ballardspahr.com
               John C Cannizzaro john.cannizzaro@icemiller.com, julia.yankula@icemiller.com
  9            Michael J Darlow mdarlow@pbfcm.com, tpope@pbfcm.com
               Caroline Djang caroline.djang@bbklaw.com,
 10             laurie.verstegen@bbklaw.com;wilma.escalante@bbklaw.com
               Eryk R Escobar eryk.r.escobar@usdoj.gov
 11            John-Patrick M Fritz jpf@lnbyg.com, JPF.LNBYB@ecf.inforuptcy.com
               William W Huckins whuckins@allenmatkins.com,
 12             clynch@allenmatkins.com;igold@allenmatkins.com
               Gregory Kent Jones (TR) gjones@sycr.com,
 13             smjohnson@sycr.com;C191@ecfcbis.com;cpesis@stradlinglaw.com
               Michael S Kogan mkogan@koganlawfirm.com
 14            Kristen N Pate bk@bpretail.com
               Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
 15            Ronald M Tucker rtucker@simon.com,
                cmartin@simon.com;psummers@simon.com;Bankruptcy@simon.com
 16            United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

 17   2. SERVED BY UNITED STATES MAIL: On May 27, 2022, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
 18   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 19   completed no later than 24 hours after the document is filed.

 20   None.
                                                                              Service information continued on attached page
 21
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
 22   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on May 27, 2022, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
 23   email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
 24
      None.
 25
      I declare under penalty of perjury under the laws of the United States of America that the foregoing is
 26   true and correct.
 27    May 27, 2022                     Damon Woo                                        /s/ Damon Woo
       Date                            Type Name                                         Signature
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
